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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION                          55A
MARVIN B. SMITH,III AND                                          CV215-70


SHARON H.SMITH,

                               PLAINTIFFS,
                  VS.

                                                                            r-o        p




HSBC BANK USA, NATIONAL ASSOCIATION;                                        ro     "        —

                                                                                  r: 1- m
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WELLS FARGO BANK,NATIONAL ASSOCIATION;                                            ' o
                                                                                  - 5o
                                                                                  -•^c:
S. ANDREW SHUPING,JR.;                                                                 —H



SHUPING, MORSE & ROSS LLP;

RUBIN LUBLIN LLC and Us AGENTS:

BRETT CHANESS, Agent of Rubin Lublin LLC,

PETER LUBLIN,Agent of Rubin Lublin LLC,

                                DEFENDANTS.



                         ADDITIONAL SUPPLEMENT TO
 PLAINTIFFS'SUPPLEMENTAL BRIEF IN RESPONSE TO THIS COURT'S ORDER

                                       AND


SUPPLEMENTAL BRIEF IN SUPPORT OF PLAINTIFFS'REPLY IN OPPOSITION TO
          MOTION TO DISMISS PLAINTIFFS'AMENDED COMPLAINT


                                       AND


                         MOTION TO AMEND PARTIES


     COME NOW Marvin B. Smith, III and Sharon H. Smith,"Smiths", Plaintiffs Pro Se,
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and submit the following in support of their August 18, 2017 Supplemental Brief in Response to

This Court's Order, Dkt. #71; and in support oftheir Reply in Opposition to Motion to Dismiss,

Dkt.#56. The Smiths also move this Court to amend the parties in the Amended Complaint in

the event this Court decides not to remand the case.


       Attached and incorporated herein, as Exhibit A,is the Smiths' Supplemental Brief in

Support of Motion for Entry of Order on Violation of the Automatic Stay and Motion for

Enforcement of the Automatic Stay filed in the U.S. Bankruptcy Court on August 21,2017.

       The Smiths request amendment of their Amended Complaint to include the parties:

Geremy Gregory and Christopher Anulewicz for actions taken with regard to the dispossession

of the Smiths in violation of the automatic stay, representing themselves to be attorneys for

HSBC Bank USA,N.A. It was learned during the dispossession that said attorneys are employed

by Nationstar Mortgage, a fact which has not been disclosed to this Court. The actions taken

during the dispossession are subject to the Georgia RICO Act. The parties have violated one or

more of the Georgia RICO statutes listed below.

              135. Georgia defines Mortgage Fraud as when a person "[k]nowingly
       makes a deliberate misstatement, misrepresentation, or omission during the
       mortgage lending process with the intention that [the false information] be relied
       on by a mortgage lender, borrower, or any other party to the mortgage lending
       process [including negotiation and servicing]."^
                136. Further, a violation of the statute occurs when a person uses or
       facilitates the use of such false information with the intent that the false
       information be used by anyone during the mortgage lending process.
              137. Violation of the statute occurs when any written instrument that
       contains a deliberate misstatement, misrepresentation, or omission is recorded in
       the real estate records of any Georgia county.^
       Furthermore, Attorneys and others who take part in the mortgage lending process are



      '        O.C.G.A. § 16-8-102(1).
      ^        O.C.G.A. § 16-8-102(2).
      ^        O.C.G.A. § 16-8-102(5).
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subject to separate prosecution for conspiracy,'^ should the party conspire with others to violate

the statutCi^                                                       u

        WHEREFORE,Plaintiffs pray unto this Honorable Court to allow the parties, Geremy

Gregory and Christopher Anulewicz, to be added as Defendants in their Amended Complaint.



        Respectfully submitted this 21^' day of August, 2017.

P.O. Box 22063
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                                                                    B. Smith, III              '



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                                                             Sharon H. Smith


                                                             Plaintiffs Pro Se




        O.C.G.A. § 16-4-8 (2003).
        O.C.G.A. § 16-8-102(4).
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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    BRUNSWICK DIVISION




MARVIN B.SMITH,III AND                                                      CV215-70


SHARON H.SMITH,

                                  PLAINTIFFS,
                         VS.




HSBC BANK USA, NATIONAL ASSOCIATION;

WELLS FARGO BANK,NATIONAL ASSOCIATION;

S. ANDREW SHUPING,JR.;

SHUPING,MORSE & ROSS LLP;

RUBIN LUBLIN LLC and its AGENTS:

BRETT CHANESS, Agent of Rubin Lublin LLC,

PETER LUBLIN,Agent of Rubin Lublin LLC,

                                  DEFENDANTS.




                           CERTIFICATE OF SERVICE



     We hereby certify that we have this day served the following parties with the
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                            ADDITIONAL SUPPLEMENT TO
 PLAINTIFFS* SUPPLEMENTAL BRIEF IN RESPONSE TO THIS COURT'S ORDER

                                           AND


 SUPPLEMENTAL BRIEF IN SUPPORT OF PLAINTIFFS* REPLY IN OPPOSITION
      TO MOTION TO DISMISS PLAINTIFFS* AMENDED COMPLAINT

                                           AND


                            MOTION TO AMEND PARTIES



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By placing the same in the United States Mail with all exhibits and with sufficient postage

affixed thereon to assure delivery.
        Respectfully submitted this     day of August, 2017.

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                                                               Sharon H(^Smith

                                                               Plaintijfs Pro Se
